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                        UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF OHIO
                             EASTERN DIVISION


               MINUTES OF PROCEEDING AND ORDER–CIVIL


AKRON BAIL FUND,
                                               CASE NO: 5:23-cv-837
                           Plaintiff,
                                               DISTRICT JUDGE
                      v.                       CHARLES ESQUE FLEMING

CITY OF AKRON,                                 MAGISTRATE JUDGE
                                               JAMES E. GRIMES JR.
                           Defendant.



PROCEEDING: On June 20, 2024, I held a status conference by video. Present were
plaintiff’s counsel Elizabeth M. Bonham and defendant’s counsel Brian D. Bremer
and John C. Reese.

The parties advised that they have reached an agreement in principle. They will
finalize the settlement agreement within a week’s time and will file the appropriate
dismissal entry on the docket within 45 days. The Court will retain jurisdiction to
enforce the terms of the settlement agreement.




Total Time: 5 minutes                          /s/ James E. Grimes Jr.
                                               James E. Grimes Jr.
Date: June 20, 2024
                                               U.S. Magistrate Judge
